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  5
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  7
  8                       UNITED STATES DISTRICT COURT
  9         FOR THE CENTRAL DISTRICT OF CALIFORNIA- WESTERN
 10                                     DIVISION

 11
                                              CASE NO. 2:19-cv-01254-JAK (Ex)

                                               DECLARATION OF TATIANA
                                               GUTSCHMIDT EL CHBEIR IN
                                               SUPPORT OF DEFENDANTS
                                               MICHAEL GUSS AND LIDIA
                                               ZINCHENKO'S RESPONSE TO
 16                                            ORDER TO SHOW CAUSE
            vs.
 17
      LIDIA ZINCHENKO aka LIDIYA
 18   ZINCHENKO, an individual and dba         Date:     June 24,2019
      RAINIER AG; MICHAEL GUSS
 19   AKA MICHAEL GAUSS AKA                    Time:     8:30a.m.
      MIKHAIL GASS AKA MICHAEL I               Location: Courtroom 1OB
 20   GUSS AKA MICHAEL I.
      SYROEJINE AKA MIKHAIL
 21   IVAN SYROJINE AKA MICHAEL
      SYROJESCHIN, AKA MIKHAIL
 22   SYROETINE, an individual, and dba
      EMBLES FINANCIAL; EZBANC
 23   CORP., a Florida CQI"QOration;
      GREGORY MANCUSO aka GREG
 24   MANCUSO, an individual; THE
      BANK OF NEW YORK MELLON
 25   CORPORATION aka BNY
      MELLON, a Delaware corporation;
 26   PERSHING, LLC, a Delaware
      corporation; and DOES 1-50,
 27
                  Defendants.
 28

                                                     Declaration ofTatjana Gutschmidt El Cheibr
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 1
                                DECLARATION OF TATJANA GUTSCHMIDT EL CHBEIR
 2              I, Tatjana Gutschmidt El Chbeir, declare:
 3               1.        I am an adult resident of Switzerland. I am the Managing Director of Rainier

 4       AG. If called as a witness, I would testify truthfully to the matters set forth herein. All of the

 5       matters set forth in this declaration are within my personal knowledge, except those

 6       matters that are stated to be upon information and belief. As to such matters, I believe

         them to be true.
 7
                2.      Attached hereto and marked as Ex. A is the Brokerage Account Application
 8
         with Rainier AG completed and executed by Mauricio lara Ramos on behalf of Consul Group
 9
         RE 2021, S.R.L.
10
                3.         Attached hereto and marked as Ex. B is the Full Trading Authorization form
11
         with Rainier AG completed and executed by Mauricio lara Ramos on behalf of Consul Group·
12       RE 2021, S.R.L.

13              4.         Attached hereto and marked as Ex. C is the Brokerage Account Agreement

14       signed by Mauricio lara Ramos on behalf of Consul Group RE 2021, S.R.L

15               5.        Ranier AG is a privately owned Swiss asset management firm offering wealth

         management, fiduciary, and securities trading services to clients worldwide.
16
                 6.        It is in good standing with the Swiss Government Registry. Ranier AG is a
17
         member of Association Romande des lntermediaires Financiers ("ARIF"), which is a self-
18
         regulatory organization ("SRO") recognized by the Swiss Financial Market Supervisory
19
         Authority ("FINMA") to assist in the prevention of money laundering Swiss Federal Act on
20
         Combating Money Laundering and Terrorist Financing in the Financial Sector (MLA).
21               7.        For regulatory purposes, Rainier AG does not handle accounts related to U.S.
22       citizens and residents. It has no offices or operations in the United States and does not

23       work with U.S. based clients. As set forth in Rainier AG's standard Brokerage Agreements, it

24       does not open accounts for U.S. residents or citizens, or entities that have "Significant

         Persons" or "Designated Persons" who are a U.S. citizen, resident, or person subject to U.S.
25
         federal income tax on income. See Ex. A-12, 13. Individuals or entities who seek to open an
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27
28
                                                                    Declaration ofTatjana Gutschmidt El Cheibr
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     1
             account with Rainier AG must disclose all U.S. ties prior to approval by Rainier AG. See Ex.
     2       A-12, 13. Those with ties or presence in the U.S. are denied accounts with Rainier AG.
     3                 8.    After completion of the Brokerage Agreement, Rainier opened an account for

     4       Consult Group re Dos Mil Veintiundo Sociedad de Responsibilidad's ("Consul").

     5              9.       In early 2019, Rainier AG's Compliance Department made the decision to

     6       withhold Consul's access to its accounts on the basis of concerns about illegal activity. A

             true and correct copy of correspondence between Rainier AG's Compliant Department and
     7
             Financial Industry Regulatory Authority ("FINRA") outlining the concerns is attached hereto
     8
             and marked as Exhibit D.
 9
                       10.    Rainier AG maintains an interest in the compliance and regulatory issues
 10
             related to the securities and funds deposited by Consul. The securities and funds will be
11           held pending the completion of the investigations by the relevant regulatory authorities.
12           The return of funds and securities to Consul during the pendency of the investigations

13           would violate Swiss laws and regulations and jeopardize Rainier AG's license and ability to

14           operate as a financial institution under Swiss law. In addition, it could potentially expose

             Rainier AG to liability given the concern that the securities at issue are not in fact owned by
15
             Consul.
16
                       11.    While Rainier AG maintains an interest in the funds and securities deposited
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             by Consul pursuant to the Brokerage Agreement, its position is that any disputes regarding
18
             the Brokerage Agreement, including the propriety of limiting Consul's access to its account
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             pursuant to Section 17 must be addressed in the Swiss judicial system as expressly agreed
20           upon by the parties.

21
22                     I declare under penalty of perjury under the laws of the United States that the

23           foregoing is true and correct. Executed on May 20, 2019 in Zurich, Switzerland.

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                                                                 Declaration ofTatjana Gutschmidt El Cheibr
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